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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. 06-572M
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   LONG DUY TRAN,                       )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Marijuana; Conspiracy to Engage in Interstate Travel in Aid of

16 Racketeering

17 Date of Detention Hearing:     Initial Appearance, October 25, 2006

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22 / / /

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02            (1)   Defendant is also charged with Conspiracy to Distribute Marijuana in CR06-307

03 RSM and was detained in that matter. During the course of that matter, an ICE detainer has been

04 filed.

05            (2)   Defendant’s criminal history includes prior charges for assault 2nd degree, robbery

06 2nd degree, malicious mischief, intimidating a witness, deportation proceedings, reckless

07 endangerment and distribution of a controlled substance.

08            (3)   Defendant is a citizen of Vietnam. Some of his background information could not

09 be verified.

10            (4)   Defendant does not contest detention.

11            (5)   Defendant poses a risk of nonappearance due to possible illegal status in the United

12 States, unverified information, and ICE detainer. He poses a risk of danger due to his criminal

13 history.

14            (6)   There does not appear to be any condition or combination of conditions that will

15 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

16 to other persons or the community.

17 It is therefore ORDERED:

18            (1)   Defendant shall be detained pending trial and committed to the custody of the

19                  Attorney General for confinement in a correction facility separate, to the extent

20                  practicable, from persons awaiting or serving sentences or being held in custody

21                  pending appeal;

22            (2)   Defendant shall be afforded reasonable opportunity for private consultation with

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01               counsel;

02         (3)   On order of a court of the United States or on request of an attorney for the

03               Government, the person in charge of the corrections facility in which defendant is

04               confined shall deliver the defendant to a United States Marshal for the purpose of

05               an appearance in connection with a court proceeding; and

06         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

07               counsel for the defendant, to the United States Marshal, and to the United States

08               Pretrial Services Officer.

09         DATED this 25th day of October, 2006.

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                                               A
                                               Mary Alice Theiler
11                                             United States Magistrate Judge

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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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